
18 N.Y.2d 834 (1966)
In the Matter of Nat H. Hentel, Respondent,
v.
James M. Power et al., Constituting the Board of Elections of the City of New York; Liberal Party of Queens County, Respondent, and Thomas J. Mackell, Appellant.
Court of Appeals of the State of New York.
Argued October 26, 1966.
Decided October 27, 1966.
Moses Z. Yam for appellant.
George W. Herz and Walter Black for petitioner-respondent.
Isidore Levine for Liberal party of Queens County, respondent.
Concur: Chief Judge DESMOND and Judges FULD, VAN VOORHIS, BURKE, SCILEPPI, BERGAN and KEATING.
Order reversed, without costs, and the petition dismissed. (See Matter of Button v. Donohue, 18 N Y 2d 792, decided Oct. 20, 1966.) No opinion.
